UN|TED STATES D|STR|CT COURT
DlSTRlCT OF MASSACHUSETTS

1_ -m|e of case (name affirm party on each Slde °n|y) Theodore Guarrie||o, Jr., et al., v. Lee Dana Weiss, et a|.

 

 

2. Category |n which the case belongs based upon the numbered nature of suit code listed on the clvi| cover sheet. (See local
rule 40.1(a)(1)).

l:l l. 410, 441, 410, 535, aao', 391, 393, ass, R.23, REGARnLEss or NA‘ruRE oF surr.

n. 110, 130, 140, 160, 190, 196, 230, 240, 290.320,362, 310, 311, aso, 430, 440,442, 443,445, 446, 443,110, 720,
140,190, szo', 340*, sso, avo, s'n.

i:] lll. 120,150,151,152,153,195,210,220,245,310,315, 330, 340, 345, aso, 355, aso, ass, 367, asa, 315, sas, 400,
422, 423, 450, 460, 462, 463, 465, 450, 490, 51 o, 530, 540, 550, 555, 625, 690, 751,191,361-365, 390, sss. 899,
950.

*Also complete AO 120 or AO 121. for patent, trademark or copyright cases.

3. Title and number, |f any, of related cases. (See local rule 40.1(9)). if more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

 

4. Has a prior action between the same parties and based on the same claim ever been filed ln this court?
YES [:] NO

5. Does the complaint in this case question the constitutionality of an act of congress affecting the public lnterest? (See 28 USC

§2403)
YEs I__:l No
YEs [:l No [:]

6. ls this case required to be heard and determined by a district court of three judges pursuant to title 28 USC §2284?

YEs [:] No

7. Do a_|l of the parties in this action. excluding governmental agencies of the united states and the Cornmonwea|th of
Massachusetts (“governmenta| agencie$"), residing in Massachusetts reside in the same dlvision? - (See Loca| Rule 40.1(d)).

YEs I:] No

|f so, ls the U.S.A. or an officer, agent or employee of the U.S. a party?

A. if yes, in which division doa_H of the non-governmental parties reside?
Eastem Dlvision |:i Central Division [:| Westem Division E

B. lf no, in which division do the majority of the plaintiffs or the only parties, excluding govemmental agencies,
residing in Massachusetts reside?
Eastem D|vis|on Centra| Div|slon E Westem Division 13

8. |f filing a Not|ce of Remova| - are there any motions pending in the state court requiring the attention of this Court? {|f yes,
submit a separate sheet identifying the motions)
wis l:] ~o

(PLEASE TYPE oR PRlNT)
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(CategoryForm12-2011.wpd ~ 1212011)

